                                                                     Case 5:24-cv-00332-XR Document 4 Filed 04/12/24 Page 1 of 1
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.                                                            5:24-CV-00332-XR

                                                                                                  PROOF OF SERVICE
                                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


   This summons for Keller Williams Realty Inc.
 was recieved by me on 4/11/2024:

                                       I personally served the summons on the individual at (place) on (date) ; or


                                    I left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
                                    discretion who resides there, on , and mailed a copy to the individual’s last known address; or


                                    I served the summons on COGENCY GLOBAL INC., who is designated by law to accept service of process on behalf of
          X
                                    Keller Williams Realty Inc. at 1601 Elm St Suite 4360, Dallas, TX 75201 on 04/11/2024 at 12:42 PM; or


                                       I returned the summons unexecuted because ; or

                                    Other (specify)




          My fees are $ 0 for travel and $ 85.00 for services, for a total of $ 85.00.


          I declare under penalty of perjury that this information is true.

                                                                                                            {{t:s;r:y;o:"Signer";w:250;h:45;}}




Date:   04/11/2024
        {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




                                                                                                                                                  Server's signature



                                                                                                                                                 Bilikis Afolabi
                                                                                                                                                 Printed name and title



                                                                                                            6301 Windhaven Pkwy
                                                                                                            209
                                                                                                            Plano, TX 75093

                                                                                                                                                   Server's address




           Additional information regarding attempted service, etc:

           I delivered the documents to COGENCY GLOBAL INC., REGISTERED AGENT with identity confirmed by subject
           stating their name. The individual accepted service with direct delivery. The individual appeared to be a black female
           contact with an accent.




                                                                                                                                                               Tracking #: 0129646450
